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A O 199A (Rcv. 1211 1) Order Sening Conditions olRelease                                                      Page 1 o f   3Pages

                                        UNITEDSTATESDISTRICT COURT
                                                                     for the
                                                           Eastern District of California
                                                                                                              FILED
                                                                                                                    JUL 1' 7 2012
                                                                                                          CLERK. U.S. DISTRICT COURT
                    United States of America
                                   v.
                                                                         1                              EASTERN-DISTRICT OF CALIFORNIA
                                                                                                       nv    ^">+A                co
                                                                         )                                                 PUTY CLERI.   '
                  LUClA YOLANDA CHAVEZ                                   )        Case No. 1:12-cr-00213 AWI DL#
                                                                         1

                                        ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1)   The defendant must not violate federal, state, or local law while on release.

(2)   The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. $ 14135a.

(3) Thc defendant must advise the court or thc pretrial services ofiice or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

       ~h~ defendant must appear at:             Unit,ed?ates     District Court, 2500 Tulare Street, Fresno,. CA
                                                                                                               ~.
                                                                                            Place
        Courtroom 9 (DLB)- -                         -


                                                                        Dole and Time


       If blank, defendant will be notitied of next appearance.

(5)    The defendant must sign an Appearance Bond, if ordered
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CHAVEZ, Lucia Yolanda
Dkt. No. 1:12-CR-00213 AWI DLB

                                                 ADDITIONAL CONDITIONS OF RELEASE

           U p o n finding t h a t release b y o n e o f t h e a b o v e m e t h o d s w i l l n o t b y i t s e l f reasonably assure t h e a p p e a r a n c e o f thedefendant
a n d the safety o f o t h e r persons a n d t h e community, i t i s FURTHER ORDERED t h a t t h e release o f t h e defendant i s subject t o t h e
conditions m a r k e d below:

()         (7)         T h e defendant i s placed in t h e custody of:

                       N a m e o f person o r o r g a n i z a t i o n



w h o agrees (a) t o supervise t h e defendant in accordance w i t h a l l conditions o f release,
(b) t o use every e f f o r t t o as                                        a t a l l scheduled c o u r t proceedings, a n d (c) t o n o t i f y t h e c o u r t
i m m e d i a t e l y in the event th                    conditions o f release o r disappears.

                       SIGNED:


(X)        (8)
           ( )
                       The defendant shall:
                       (a)
                                                                        u
                                maintain or actively seek employment, and provide proof thereoito the PSO, upon request
           ( 1         (b)      maintain or cornmence an educational program.
           (X)         (4       abide by the followine restrictions on his personal associations. place of abode. o r travel:
                                Reside at a rcsldence approved b+ the PSO, and not mo\e or be absent from this residence for more than 24 hru.
                                nithout prior aupro\al of PSO; t r a w l restricted to Eastern District olCatllornia. unless otherwise approved i n
                                ad\snrc b) PSO.
           (XJ         (d)      not assoctate or hu\e an, contact with an) o f t h e c*defendants unless related b+ blood or marriaee unless i n the
                                presence of counsel u r othernise aupro\ed i n ad\ance b) the PSO.
           (XI         ..
                       (e)                           -
                                report on a reeular basis to the followine seencv:  ---
                                Pretrial Services and comDlv with their rules and reeulations.
            ..
           ( )         to
                       ..               .
                                comolv with the followineu curfew:
           ( )         (P)      refrain from mssessing a firearm, destructive device, or other dan~mousweapon
           ( )         (h)      refrain fromdxcessive;seof alcohol, and any use or unlawful posse~sionof a narcotic dtugand other eontrolled substances
                                defined i n 2 1 USC $802 unless prescribed by a licensed medical practitioner. However, rnedicnlrnarijuonn, prescribedor
                                no[,may nor be used.
                                undergo medical or psychiatric treatment andior remain i n on institution, as follows: Including treatment for dmgialcohol
                                dependency, and pay for costs as approved by the PSO.
                                executed a bond or an agreement to forfeit upon failing to appear or failure to abide by any of the conditions o f relcase,
                                the following sum o f money or designated property
                                post with the court the following indicia or owcrship o f the above-described property. or thc following amount or
                                percentage of the above-described money:
                                execute a bail bond with solvent sureties in the amount o f $
                                return to custody each (week)day as of     o'clock after being released each (week)day as of o'clock for employment.
                                schooling, or the following limited purpose(s):
                                surrender any passport to theclerk, United StatesDistrict Court.prior toend of businessday on Wednesdsy. July

                                   obtain no DUSSDOrt durlne the pendency o f t h i s case.
                                   you shall submit to drug or alcohol testing asapproved by thepretrial Services Officcr. You shall pay all or part o f the costs
                                                                        . .             . .,
                                   o f the testlne services bssed unon vour abilitv to oav. as determined bv the Pretrial Services Officer.
           (XJ         (qJ         not be cmploved i n an) capacit\, related to the real cstute industry.
           (XJ         (r)         G o r t in uerson to the Pretrial Serttccs Aecncv at 1-800-786-0268 before noon on J u l t 18.2012. to srhedule a post
                                   bail review.
           ( 1         (s)         participate in onc o f the following Location Monitoring program components and abide by all the requirements o f the
                                   program which will includeelectroniemonitoringorother location verificationsystem. The defendant shall pay all or pan
                                   of the costs o f the program based upon your ability to pay as determined by the PSO.



(Copier 10: Defendant, US Attorney, US Mlrshal, Pretrial Services)
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ADVICE OF PENALTIES AND SANCTIONS

          Violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for the defendant's arrest,
a revocation of release, an order of detention, as providcd in 18 USC $3 148, and a prosecution for contempt as provided in 18 USC $40 1
which could result in a possible term of imprisonment andor a fine.
          The commission of any offense while on pretrial release may result in an additional sentence upon conviction for such offense
to a term of imprisonment of not less than two years nor more than ten years, if the offense is a felony; or a term of imprisonment of not
less than ninety days nor more than ninety days or more than one year, if the offense is a misdemeanor. This sentence shall be consecutive
to any other sentence and must be ~mposedin addition to the sentence received for the offense itself.
          18 USC g 1503 makes it a criminal offense punishable by up to five years in jail and a $250,000 fine to intimidate or attempt to
intimidate a witness, juror or officer of the court; 18 USC $1510 makes it a criminal offense punishable by up to five years in jail and a
$250,000 fine lo obstruct a criminal investigation; 18 USC 8 15 12 makes it a criminal offense punishable by up to ten years in prison and
a $250.000 fine to tamper witha witness, victim or informant; and 18 USC $ 1513 makesit a criminaloffense punishable by up to ten years
in jail and a $?50,00 fine to retaliate against a witness, victim or informant, or threaten or attempt to do so.
          It is a criminal offense under 18 USC 83146, if after having been released, the defendant knowingly fails to appear as required
by the conditions of release, or to surrender for the service of sentence pursuant to a court order. If the dcfendant was released in
connection with a charge of, or while awaiting sentence, surrender for the service of a sentence, or appeal or certiorari after conviction,
for;
          (1)        an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, the defendant
                     shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
          (2)        an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, the defendant shall
                     be fined not more than $250,000 or imprisoned for not ore than five years, or both;
          (3)        any other felony, the defendant shall be fined not more than $250,000 or imprisoned not more than two years, or both;
          (4)        a misdemeanor, the defendant shall be fined not more than $100,000 or imprisoned not more than one year, or both.

         A term of imprisonment imposed for failure to appear or surrender shall be consecutive to the sentence of imprisonment for any
other offense. In addition, a failure to appear may result in the forfeiture of any bail posted.

                                         ACKNOWLEDGMENT OF DEFENDANT
          I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions set forth
above.



Signature of Defendant




City and State
                 W P d d C.4-6331.3
Telephone Number      @   &(-33'3cL/83@
                                          DIRECTIONS TO UNITED STATES MARSHAL
(X)      The defendant is ORDERED released after processing.
( )      The United States Marshal is ORDERED to keep the defendant in custody until notified by the Clerk of Judicial Officer that the
         defendant has posted bond andor complied with all other conditions for reIezde. The defendant shall be produced before the
         appropriate Judicial Officer at the time and place specified, if still in custody.

DATE: 7/17/2012                                Judicial Officer:
                                                                                         U S. Magistrate Judge
